      Case 1:22-cv-20040-JEM Document 3 Entered on FLSD Docket 01/05/2022 Page 1 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                   Southern District of Florida

               RLI INSURANCE COMPANY                              )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                       Civil Action No. 22-cv-20040-JEM
                                                                  )
DESIMONE CONSULTING ENGINEERS, LLC, et al.                        )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) DESIMONE CONSULTING ENGINEERS, LLC
                                       140 Broadway, 25th Floor
                                       New York, New York 10005




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: FAY E. RYAN, ESQ.
                                       RYAN K. HILTON, ESQ.
                                       BUTLER WEIHMULLER KATZ CRAIG LLP
                                       400 N. Ashley Drive, Suite 2300
                                       Tampa, Florida 33602



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




Date:             01/05/2022
                                                                                                     s/ Johanna Borges
      Case 1:22-cv-20040-JEM Document 3 Entered on FLSD Docket 01/05/2022 Page 2 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District of Florida

               RLI INSURANCE COMPANY                              )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 22-cv-20040-JEM
                                                                  )
DESIMONE CONSULTING ENGINEERS, LLC, et al.                        )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) RAQUEL AZEVEDO DE OLIVEIRA, AS THE PERSONAL REPRESENTATIVE OF
                                           THE ESTATES OF ALFREDO LEONE AND LORENZO DE OLIVEIRA LEONE AND
                                           PURPORTED REPRESENATATIVE OF THE LIABILITY CLASS AND PERSONAL
                                           INJURY AND WRONGFUL DEATH SUBCLASS
                                           9100 W Bay Harbor Drive, Apt. 11C
                                           Bay Harbor Islands, FL 33154


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: FAY E. RYAN, ESQ.
                                       RYAN K. HILTON, ESQ.
                                       BUTLER WEIHMULLER KATZ CRAIG LLP
                                       400 N. Ashley Drive, Suite 2300
                                       Tampa, Florida 33602



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Date:             01/05/2022
                                                                                                      s/ Johanna Borges
      Case 1:22-cv-20040-JEM Document 3 Entered on FLSD Docket 01/05/2022 Page 3 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District of Florida

               RLI INSURANCE COMPANY                              )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 22-cv-20040-JEM
                                                                  )
DESIMONE CONSULTING ENGINEERS, LLC, et al.                        )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KEVIN SPIEGEL, AS PERSONAL REPRESENTATIVE OF THE ESTATE OF JUDITH
                                           SPIEGEL AND PURPORTED REPRESENTATIVE OF THE LIABILITY CLASS AND
                                           PERSONAL INJURY AND WRONGFUL DEATH SUBCLASS
                                           3350 SW 27th Avenue
                                           Apt. 1907
                                           Miami, FL 33133


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: FAY E. RYAN, ESQ.
                                       RYAN K. HILTON, ESQ.
                                       BUTLER WEIHMULLER KATZ CRAIG LLP
                                       400 N. Ashley Drive, Suite 2300
                                       Tampa, Florida 33602



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Date:             01/05/2022
                                                                                                      s/ Johanna Borges
      Case 1:22-cv-20040-JEM Document 3 Entered on FLSD Docket 01/05/2022 Page 4 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District of Florida

               RLI INSURANCE COMPANY                              )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 22-cv-20040-JEM
                                                                  )
DESIMONE CONSULTING ENGINEERS, LLC, et al.                        )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) KEVIN FANG, AS THE PERSONAL REPRESENTATIVE OF THE ESTATE OF
                                           STACIE FANG AND PURPORTED REPRESENTATIVE OF THE LIABILITY CLASS
                                           AND THE NON-OWNER PERSONAL INJURY AND WRONGFUL DEATH
                                           SUBCLASS
                                           508 Byram Lake Rd
                                           Mt. Kisco, NY 10549


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: FAY E. RYAN, ESQ.
                                       RYAN K. HILTON, ESQ.
                                       BUTLER WEIHMULLER KATZ CRAIG LLP
                                       400 N. Ashley Drive, Suite 2300
                                       Tampa, Florida 33602



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Date:             01/05/2022
                                                                                                      s/ Johanna Borges
      Case 1:22-cv-20040-JEM Document 3 Entered on FLSD Docket 01/05/2022 Page 5 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District of Florida

               RLI INSURANCE COMPANY                              )
                                                                  )
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                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 22-cv-20040-JEM
                                                                  )
DESIMONE CONSULTING ENGINEERS, LLC, et al.                        )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                  SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) RAYSA RODRIGUEZ, INDIVIDUALLY, AND AS PURPORTED REPRESENTATIVE
                                           OF THE LIABILITY CLASS AND THE ECONOMIC LOSS AND PROPERTY DAMAGE
                                           SUBCLASS
                                           1966 SW 136th Place
                                           Miami, FL 33175




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: FAY E. RYAN, ESQ.
                                       RYAN K. HILTON, ESQ.
                                       BUTLER WEIHMULLER KATZ CRAIG LLP
                                       400 N. Ashley Drive, Suite 2300
                                       Tampa, Florida 33602



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Date:             01/05/2022
                                                                                                      s/ Johanna Borges
      Case 1:22-cv-20040-JEM Document 3 Entered on FLSD Docket 01/05/2022 Page 6 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                for the
                                                    Southern District of Florida

               RLI INSURANCE COMPANY                              )
                                                                  )
                                                                  )
                                                                  )
                            Plaintiff(s)                          )
                                                                  )
                                v.                                        Civil Action No. 22-cv-20040-JEM
                                                                  )
DESIMONE CONSULTING ENGINEERS, LLC, et al.                        )
                                                                  )
                                                                  )
                                                                  )
                           Defendant(s)                           )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) STEVE ROSENTHAL, INDIVIDUALLY, AND AS PURPORTED
                                           REPRESENTATIVE OF THE ECONOMIC CLASS AND PROPERTY DAMAGE
                                           SUBCLASS
                                           1080 Brickell Ave
                                           Unit 2106
                                           Miami, FL 33131


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: FAY E. RYAN, ESQ.
                                       RYAN K. HILTON, ESQ.
                                       BUTLER WEIHMULLER KATZ CRAIG LLP
                                       400 N. Ashley Drive, Suite 2300
                                       Tampa, Florida 33602



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.




Date:             01/05/2022
                                                                                                      s/ Johanna Borges
